    Reset Form
            Case                           UNITED STATES
                        8:18-cr-00046-JLS Document       DISTRICT
                                                   257 Filed      COURT
                                                             10/06/20 Page 1 of 2 Page ID #:3780
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE SUMMARY
                                                                                                                           10/6/2020
        Case Number SA CR 18-00046(B)-JLS                                            Defendant Number 1
                                                                                                                                jgu
        U.S.A. v. Johnny Paul Tourino                                                Year of Birth 1954
            Indictment                   ✔   Information                Investigative agency (FBI, DEA, etc.) FBI and DOC OEE

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                 PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                      A complaint/CVB citation was previously filed on: 02/06/2018
                                                                              Case Number: SA 18-39M
    Class A Misdemeanor          Minor Offense        Petty Offense
                                                                              Assigned Judge:
    Class B Misdemeanor          Class C Misdemeanor       ✔   Felony
                                                                              Charging: 50 U.S.C.§1705(a),(c); 31 C.F.R. 560.204
b. Date of Offense at all times relevant to this information
                                                                              The complaint/CVB citation:
c. County in which first offense occurred
                                                                                   ✔ is still pending
Orange                                                                                   was dismissed on:
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                    PREVIOUS COUNSEL
                                                                              Was defendant previously represented?            No     ✔   Yes
          Los Angeles                 Ventura
                                                                              IF YES, provide Name:       Wiechert Munk and Goldstein PC
        ✔   Orange                        Santa Barbara
                                                                                      Phone Number: 949-361-5772
            Riverside                     San Luis Obispo
                                                                              COMPLEX CASE
            San Bernardino                Other                               Are there 8 or more defendants in the Indictment/Information?
                                                                                       Yes*        ✔ No
Citation of Offense 50 U.S.C. § 1705(a) and (c); 18 U.S.C.
                                                                              Will more than 12 days be required to present government's
§ 554; 18 U.S.C. § 1956(a)(2)(A); 18 U.S.C. § 2(a), (b)                       evidence in the case-in-chief?
                                                                                      Yes*          ✔ No
e. Division in which the MAJORITY of events, acts, or omissions
   giving rise to the crime or crimes charged occurred:                       *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                              OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                              CHECKED.
    Eastern (Riverside and San Bernardino)      ✔   Southern (Orange)
                                                                              SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                  IS THIS A NEW DEFENDANT?               Yes   ✔   No

Has an indictment or information involving this defendant and                 This is the 2nd     superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                The superseding case was previously filed on:
filed and dismissed before trial?
                                                                              07/31/2019
        ✔ No          Yes
                                                                              Case Number SA CR 18-00046(B)-JLS
       If "Yes," Case Number:
                                                                              The superseded case:
Pursuant to General Order 19-03, criminal cases may be related
if a previously filed indictment or information and the present                ✔ is still pending before Judge/Magistrate Judge
case:                                                                         Josephine L. Staton
    a. arise out of the same conspiracy, common scheme,
       transaction, series of transactions or events; or                             was previously dismissed on

   b. involve one or more defendants in common, and would                     Are there 8 or more defendants in the superseding case?
      entail substantial duplication of labor in pretrial, trial or                    Yes*         ✔ No
      sentencing proceedings if heard by different judges.                    Will more than 12 days be required to present government's
                                                                              evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED
                                                                                       Yes*         ✔ No
CASE):
                                                                              Was a Notice of Complex Case filed on the Indictment or
                                                                              Information?
                                                                                       Yes          ✔ No

                                                                              *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                              MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                              FILED IF EITHER "YES" BOX IS CHECKED.
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                                        UNITED STATES
                Case 8:18-cr-00046-JLS Document       DISTRICT
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                                       CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?          YES      ✔   NO                          Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint: 02/07/2018
                                                                              b. Posted bond at complaint level on: 02/21/2018
                                                                                   in the amount of $ 100,000
OTHER                                                                                                                  No
                                                                              c. PSA supervision?        ✔   Yes
 ✔   Male                 Female                                              d. Is on bail or release from another district:
 ✔   U.S. Citizen         Alien
Alias Name(s)       N/A                                                       Defendant is in custody:
                                                                              a. Place of incarceration:           State        Federal
This defendant is charged in:                                                 b. Name of Institution: N/A
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:
                                                                              d.      Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per                            N/A
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:               Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State                Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                           Yes     ✔   No                     f. Awaiting trial on other charges:           Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?           Yes         No                           IF YES :     State         Federal      AND
                                                                                   Name of Court: N/A
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud           public corruption                   This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
     government fraud                       tax offenses
     environmental issues                   mail/wire fraud
     narcotics offenses                     immigration offenses
     violent crimes/firearms                corporate fraud
✔    Other      Conspiracy to Violate the Int'l Emergency Econ.
Powers Act; Smuggling Goods Out of US; Money Laundering




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date       10/06/2020
                                                                            Signature of Assistant U.S. Attorney
                                                                            Mark Takla
                                                                            Print Name
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